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STATE OF CALIFORNIA — ENVIRONMENTAL PROTECTION AGENCY PETE WILSON, Governor

DEPARTMENT OF TOXIC SUBSTANCES CONTROL

70151 CROYDON WAY, SUITE 3
ACRAMENTO, CA 95827-2106

(916) 255-3545

March 12, 1996

Mr. James D. Moore III
Environmental Manager

Collins & Aikman Products Co.
P.O. Box 32665

Charlotte, North Carolina 28232

WICKES FOREST INDUSTRIES, ELMIRA CALIFORNIA, SOLANO COUNTY: SITE
CERTIFICATION

Dear Mr. Moore:

Enclosed is a copy of the signed final Operation ana
Maintenance Agreement (OMA) for the Wickes Forest Industries site
in Elmira, California. The OMA incorporates the language that
was agreed upon through negotiations between DTSC and the Collins
& Aikman Products Co (CAPCo). With the approval of the October
16, 1995, Operation and Maintenance Manual (OMM) and the signing
of the OMA, DTSC hereby certifies implementation of the final
remedial actions at the Wickes Site. Be advised that, in
addition to the implementation of the OMM, the OMA contains
paragraphs which specify compliance conditions. It is CAPCo’s
responsibility to insure that these conditions are met.

DTSC has also completed a review of the March 4, 1996,
transmittal of the sheet for Wickes. The fact sheet was prepared
by Levine * Fricke on behalf of CAPCo and it is intended to
present a description of the remedial actions conducted at the
site as well as the activities to be conducted as part of ongoing
operation and maintenance. By this letter DTSC approves the fact
sheet. It shall be distributed to the recipients identified on
the Wickes mailing list mail and the DTSC mandatory mailing list
within 15 days of the date of this letter. Attached is the
latest copy of DTSC,s mandatory mailing list.

If you have any questions or comments please contact Timothy
Patenaude at (916) 255-3580,

Sincerely,

eer
roa P.E.

Branch Chief
Central California Cleanup

Operations Branch
Enclosure

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cc:

John B. Orgain, Esq. -

Senior Counsel
Collins & Aikman Corporation
P.O. Box 32665

Charlotte, North Carolina 28232

Mr. Frank Lorincz
Levine-Fricke

1900 Powell Street, 12th Floor
Emeryville, California 94608

Mr. Lawrence Pearson, P.E.
Supervising Engineer

Regional Water Quality Control Board
Central Valley Region

3443 Routier Road

Sacramento, California 95827

Greg Mackin

Collins & Aikman Corporation
P.O. Box 32665

Charlotte, North Carolina 28232

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REGION 1
MANDATORY MAILING LIST
8-17-95

TOXICS ASSESSMENT GROUP
JODY SPARKS

PO BOX 73620

DAVIS CA 95617

CA DEPT TOXICS

MARCIA MURPHY CHIEF
PUBLIC PARTICIPATION

PO BOX 806

SACRAMENTO CA 95812-0806

CA DEPT TOXICS-REGION 1

] BAKER

EXTERNAL AFFAIRS LIAISON
10151 CROYDON WAY SUITE 3
SACRAMENTO CA 95827

ENVIRONMENTAL HEALTH COALITION
DIANE TAKVORIAN

1717 KETTNER SUITE 100

SAN DIEGO CA 92101

CA DEPT TOXICS-REGION 1

LARRY WOODSON

PUBLIC PARTICIPATION SUPERVISOR
10151 CROYDON WAY SUITE 3
SACRAMENTO CA 95827

LEAGUE OF WOMEN VOTERS
ANN COOMBS

571 GUADALUPE DRIVE

L ALTOS CA 94022

SIERRA CLUB

LIZ ALLEN

394 BLAISDELL
CLAREMONT CA 91711

CA COUNCIL FOR ENVIRONMENT AND
ECONOMIC BALANCE

LISA BICKER

100 SPEAR STREET SUITE 805

SAN FRANCISCO CA 94105

CA DEPT TOXICS

JESSE R. HUFF DIRECTOR
PO BOX 806

SACRAMENTO CA 95812-0806

CITIZENS FOR A BETTER ENVIRONMENT

MIKE BELLIVEAU
501 SECOND STREET SUITE 305
SAN FRANCISCO CA 94107

GREENPEACE

BRADLEY ANGEL

568 HOWARD STREET 3RD FLOOR
SAN FRANCISCO CA 94105-3008

CENTER FOR COMMUNITY ACTION
AND ENVIRONMENTAL JUSTICE
PENNY NEWMAN

P O BOX 33124

RIVERSIDE CA 92519

CALPIRG

MARY RAFTERY
LEGISLATIVE ADVOCATE
926 J STREET SUITE 713
SACRAMENTO CA 95814

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captured and routed off-site; and affected groundwater to be
extracted and treated with an on-site electrochemical co-
precipitation treatment system. The RAPs also set forth the
chemicals to be remediated, remediation levels, requirements
for monitoring capture zones, and reporting requirements.

4. Type of Site:
RCRA-Permitted Facility Bond~funded
RCRA Facility Closure __ RP-funded x
Federal Facility _ NPL _
Other:
Explain Briefly:

5. Size of Site:
Small _._—s—s«s Medium Large _X_ ~=Extra Large

6. Dates of Remedial Action
* Ground Water Extraction and Treatment - December 1983.

* Soil removal, asphalt cap and expanded groundwater
extraction and treatment - October 1994.

7. Response Action Taken on Site:

Initial Removal or Remedial Action (site inspection/
sampling)

Xx Final Remedial Action
RCRA enforcement/closure action
No action, further investigation verified that no
cleanup action at site was needed.

A. Type of Remedial Action:

Soil excavation and off-site disposal.

Asphalt cap.

Ground water extraction and treatment in an on-site
chemical treatment plant.

* Deed Restriction.

B. Estimated quantity of waste associated with the site:

1. x removed soil Amount: 3,040 Cu Yrds
2. Xx untreated (capped sites) Amount: 4.3 acres
3. x treated ground water Amount: 45,000,000

gallons to date

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8. Cleanup Levels/Standards

A. What were the cleanup standards established by DTSC/EPA
pursuant to the final RAP or workplan (if cleanup
occurred as the result of a removal action (RA) or
interim remedial measures (IRM) prior to development of
a RAP)?

50 part per billion total chromium in groundwater

B. Were the specified cleanup standards met? Yes No_X

c. If "no", why not:
Ground water is continuing to be extracted and treated
pursuant to an operation and maintenance agreement.
9. DTSC Involvement in the Remedial Action:
A. Did DTSC order the Remedial Action?

Yes x No

Date of order: 02/26/84

B. Did DTSC/EPA review and approve:
__X Sampling Analysis Procedures “Date: 02/25/94
—X__ Health & Safety Protections Date: 02/25/94
__X__ Removal/Disposal Procedures Date: 02/25/94
__X Remedial Action Plan Date: 02/25/94

c. If site was abated by a responsible party, did DTsc
receive a signed statement from a licensed professional

on all Remedial Action?

Yes_X_ No Dates (from) 10/30/84 (to) 06/30/95

D. Did a registered engineer or geologist verify that
acceptable engineering practices were implemented?

Yes_X_ No__ Name: Mark Knox
Date of verification: 12/13/94

E. Did DTSC confirm completion of all Remedial Action?
Yes_._._. No_X_ Date of verification: 03/16/95

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10.

11.

F. Did DTSC actually perform the Remedial Action?
Yes__s-~xNo_X_ Name of Contractor:

G. Was there a community relations plan in place?

Yes_X No__

H. Was a remedial action plan developed for this site?
Yes xX No__

Is BEd, DESC /USERA: hold a public meeting regarding the draft
Yes X No__

J. Were public comments address? Yes_X_ No
Date of DTSC/USEPA analysis and response: 02/25/94

K. Are all of the facts cited above adequately documented in
DTSC files? Yes_X_ No__

If no, identify areas where documentation is lacking:
volvement _in e Remedial Action:

A. Was the EPA involved in the site cleanup? Yes_ No_X_
If yes, did EPA concur with all remedial actions?
Yes. —~No__..

B. EPA comments:

CG. EPA staff involved in cleanup:

Other Regulatory Agency Involvement in the Cleanup Action:

Agency: Activity:

x RWOCB Waste Discharge Requirements, NPDES

ARB

CHP

Caltrans

Other

Name of contact persons and agency: RWOQCB - Issac Kiang

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12. Post-Closure Activities:
As Will there be post-closure activities at this site?

Yes xX No

If yes, describe:

Pursuant to an operation and maintenance agreement,
the Collins & Aikman Products Co. will continue to
extract, treat, sample and analyze ground water from the
site. There are also operation, maintenance, sample and -
analysis procedures associated with the on-site chemical
treatment system and asphalt cap which are described in
the June 20, 1995, Operation and Maintenance Plan.

B. Have post-closure plans been prepared and approved by the
DTSC/USEPA? Yes_ xX No.

c. What is the estimated duration of post-closure
activities? 10 years.

D. Are deed restrictions proposed or in place? Yes_X_ No

If yes, have deed restrictions been recorded with the
County Recorder? Yes_X_ No Date: 10/27/95

If no, who is responsible for assuring that the deed
restrictions are recorded?

Who is the Division contact?

E. Has cost recovery been initiated? Yes_xX No

If yes, amount received: $43,731.83

F. Were local planning agencies notified of the cleanup
action? Yes No_ xX

If yes, the name and address of agency:

13. x re of Funds ource:
HWCA $ HSA $
_.__HSCF $ RCRA §
X__RP $5,500,000 Aprox _____Other $

Federal Cooperative Agreement $

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14.

15.

16.

Certification Statement: Based upon the information which is
currently and actually known to DTSC,

DTSC has determined that all appropriate response actions
have been completed, that all acceptable engineering
practices were implemented and that no further
removal/remedial action is necessary.

DTSC has determined, based upon a remedial investigation
or site characterization that the site poses no
significant threat to public health, welfare or the
environment and therefore implementation of
removal/remedial measures is not necessary.

DTSC has determined that all appropriate removal/remedial
actions have been completed and that all acceptable
engineering practices were implemented; however, the site
requires ongoing operation and maintenance (O&M) and
monitoring efforts. The site will be deleted from the
"active" site list following (1) a trial operation and
maintenance period and (2) execution of a formal written
settlement between DTSC and the responsible parties, if
appropriate. However, the site will be placed on DTSC's
list of sites undergoing O&M to ensure proper monitoring
of long-term clean-up efforts.

Additional Comments:

Chromium sludge generated from the treatment of ground

water is disposed in an off-site permitted disposal facility.
Treated ground water is used to recharge the aquifer by means
of existing drainage ditches.

t

icatio f Remedial Action:

I hereby certify that the foregoing information is true and

1.

2.

3.

correct to the best my knowledge.
Ze ee 2k [xt

q Project Manager Date
2/ ¢/2¢
Co nit Chief “Date
Aun Dev i/o [fe
(_/ Branch Chief Date
6

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SITE CERTIFICATION SYNOPSIS

NAME AND LOCATION OF SITE:

Wickes Forest Industries
147 A Street
Solano County
Elmira, California 95625

DATE PROJECT BEGAN: February 1983

DATE PROJECT CERTIFIED: March 1996

DESCRIPTION OF THE SITE AND CONTAMINANTS:

During the 1970's the site was used as a wood treatment
facility. Lumber was treated with preserving solutions
containing arsenic, chromium, and copper. Preserving fluid
spills and dribble from treated lumber contaminated the soils
at the site with these metals. Chromium has migrated through
the soils and contaminated the ground water beneath the site
and beneath the adjacent properties.

DESCRIPTION OF REMOVALS AND REMEDIAL ACTIONS:

Soils with concentrations of metals that exceeded the
hazardous waste threshold were excavated and disposed at a
permitted off-site disposal facility (89 cubic yards). An
asphalt cap was constructed on the site te prevent direct
exposure to metals in concentrations above background (25,150
square yards). A ground water extraction and treatment system
was constructed to remediate chromium ground water
contamination (15 gallons per minute average flow) .

DESCRIPTION OF PROBLEMS ENCOUNTERED WHICH CAUSE MAJOR DELAYS:

For the purpose of investigation, the site was divide
into two operable units, wood treatment unit (south) and the
wood storage unit (north). During the remedial investigation,
preliminary sampling data indicated that the northern portion
of the site was not contaminated. A remedial action plan was
prepared and implemented for the southern portion of the site.
Subsequent confirmation sampling identified additional soil
contamination in the northern portion. Consequently, a second
remedial action plan, design, and implementation had to be
conducted.

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DESCRIPTION OF ACCOMPLISHMENTS UNIQUE TO THIS PROJECT:

To date, approximately 45 millions gallons of ground
water has been extract and treated to below clean up goals.
Sludge from the treatment process is disposed at an off-site
disposal facility. Treated ground water recharges the
existing aquifer by means of an existing drainage ditch. A
storm water management system has been constructed to divert
collected rain water away from the asphalt cap.

FINAL USE OF SITE:

The site is currently fenced and is vacant. However, the
responsible party is conducting research into potential use of
the site as a railroad equipment or highway maintenance
equipment storage facility.

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